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United States of America
W.

John Charlie KOFRON, aka “Jay C"

paid
Case No. 2:20mj1164

 

Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 17, 2019 and July 16,2079 _in the county of Nueces in the

Southem _ District of _ Texas i, the defendant(s) violated:

 

Code Section Offense Description

21 U.S.C. § 841 (a)(1)(A) Knowingly, intentionally, and unlawfully possess with intent to distribute a
controlled substance in Schedule | of the Controlled Substance Act of 1970,
to wit; 39.74 grams of methamphetamine, approximate gross weight.

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

  

Complainant ' 's signature

Andy Trevino, Task Force Officer

 

 

Submitted by reliable electronic means, sworn to, signature Printed name and title
attested telephonically per Fed.R.Crim.P. 4.1, and probable
cause found:

Date: | May 20, 2020

 

LA] Judge 's signature

City and state: Corpus Christi, Texas JwWie K. Hampton, U.S. Magistrate Judge
Printed name and title

 
 

 

 

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Attachment A

On April 17, 2019, DEA Corpus Christi Resident Office Special Agents (SA) and Task
Force Officers (TFO), utilizing a Confidential Source (CS1), conducted a controlled purchase of
methamphetamine from a subject known by CS1 as “Jay C”. At approximately 2:18 p.m. on
April 17, 2019, “Jay C” was observed driving a white Chevrolet Z71 4X4 with black fender
flares into the parking lot of the One Market convenience store, located at 4214 Carroll Lane,
Corpus Christi, Texas. CS1 entered “Jay C”’s vehicle, and “Jay C” sold methamphetamine to
the CS1 from inside Jay C’S vehicle. Approximately two minutes later, CS1 exited from “Jay
Cs vehicle, entered an undercover vehicle, and provided TFO Trevino with a clear plastic zip
lock bag containing five smaller zip lock bags, each containing a clear hard crystalline substance
that “Jay C” sold to CS1. The clear hard crystalline substance field-tested positive for the
presence of methamphetamine. The aggregated gross weight of the hard crystalline substance
was 20 grams. Laboratory analysis indicates the substance to be Methamphetamine
Hydrochloride with 12.54 grams aggregated net weight at 97% substance purity.

On July 16, 2019 in the early afternoon, DEA Agents and officers established :
surveillance at “Jay C”’s residence in zip code 78411 area in Corpus Christi, Texas. Soon .
afterwards at approximately 1:30 pm, CS1 contacted “Jay C” via telephone call to arrange a
purchase of one (1) ounce of methamphetamine from “Jay C” in parking lot of the One Market
convenience store, located at 4214 Carrol] Lane, Corpus Christi, Texas. “Jay C” agreed to sell
CS1 one (1) ounce of methamphetamine. TFO Trevino, acting in an undercover capacity, drove
CS1 to the predetermined location. At approximately 2:16 pm, surveillance units observed a
white Tahoe backing out of the rear driveway of “Jay C’’s residence. At approximately 2:45
pm, surveillance units observed “Jay C”, driving the white Tahoe, arriving at the parking lot of
the One Market convenience store, located at 4214 Carroll Lane, Corpus Christi, Texas, At
approximately 2:47 pm, CS1 exited TFO Trevino’s vehicle and entered “Jay C”’s white Tahoe.

Approximately two minutes later, CS1 exited the vehicle and returned to TFO Trevino’s vehicle.
TFO Trevino took custody of one latex glove from CS1. The latex glove contained a clear plastic
wrap. The clear plastic wrap contained a clear hard crystalline substance. The clear hard
crystalline substance field-tested positive for the presence of methamphetamine. The aggregated
gross weight of the hard crystalline substance was 29.03 grams. Laboratory analysis indicates the
substance to be Methamphetamine Hydrochloride with 27.2 grams aggregated net weight at 98%
substance purity.

CS! was shown a six-person photo lineup and identified John Charlie KOFRON as “Jay
C”, the person who sold CS1 methamphetamine on April 17, 2019 and on July 16, 2019 in the
parking lot of One Market convenience store.

DEA Agents and officers obtained trash that was located in tvash receptacle located off
the curtilage at KOFRON’s residence on August 07, 2019, March 18, 2020, and April 29, 2020.
Muiltiple clear plastic baggies were located from the trash on all three dates, and they tested
positive for the presence of cocaine on all three dates.
 

 

 

 

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Distribution may be inferred from the amount of methamphetamine seized and findings
of the trash pulls.

   

PIO G
Task Force Officer
Drug Enforcement Administration

Submitted by reliable electronic means, sworn to, signat
Fed.R.Crim.P 4.1., and probable cause found:

lepijonically per

  
 

 

Juke] . Hampton
Unitd¢d States Magistrate Judge

 
